Case 1:21-cr-00071-ABJ Document

Karl Dresch (owner)

Size: 0
File name: 137611557_184266056776893_3274809166188651100_n.jpg

1/12/2021 12:55:44 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

Celt

Not sure if that's the same people or not

ds fered
1/12/2021 12:59:40 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

celts Karl Dresch (owner)

Ya | looked at her shit and the ones commenting on it are the same
ee ele)

1/12/2021 1:05:18 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

celia Carl Dresch (owner)

They're the ones always mess with my Facebook ads
ae ele
1/12/2021 1:05:46 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

a celtie iarl Dresch (owner)

Now they wanna snitch me out lol.. bunch of losers
Platform: Mobile

1/12/2021 1:06:34 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

aes <arl Dresch (owner)

| sent her thing to tons of Patriots now it's gone haha, I'm sure | made a FBI folder but fuck it
| know who my enemies are

cele

1/12/2021 1:08:11 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

795
